Case: 1:25-cv-00139-BMB Doc #:1 Filed: 01/28/25 1 of 4. PagelD #: 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

TERRY FOSTER ) CASENO. 1 ° 9

1011 EAST 718? STREET ) ® 25 C V 00 13

CLEVELAND, OH 44103 ) JUDGE:

Plaintiff(s) et, al ) JUDGE BRENNAN

)

Vv. j MAG JUDGE ARMSTRONG
)

GRAY LOCAL MEDIA, INC ) CIVIL COMPLAINT

4370 PEACHTREE ROAD N.E. STE 400 +)

ATLANTA, GA 30319 ) JURY TRIAL DEMANDED

Defendant(s) et. al

Now comes the Plaintiff(s), Terry Foster, by and through his Civil Complaint, and
Respectfully Moves the Honorable Court, pursuant to the Federal Civil Rule of Procedure 7(a)(1)
for an Order for damages against the Defendant(s), Gray Local Media, Inc., due to there
Negligent; Defamation of Character; Libel; and Slander; from a false news story broadcasting.

A Memorandum in Support of this Civil Complaint is attached hereto.

Respectfully Submitted,

Lage

Terry Foster
1011 E. 71* Street
Cleveland, OH 44103

Case: 1:25-cv-00139-BMB Doc #:1 Filed: 01/28/25 2 of 4. PagelD #: 2

MEMORANDUM

. On or about the 22th day of November, 2021, News station 19 News, which is broadcast
on television station WOIO & WUAB-TV stations owned by Gray Local Media, Inc.
hereafter ““Defendant(s)”; received false information from the Cleveland Police
Department, hereafter “CPD”; that the Plaintiff had shot an unarmed woman from his car
window.

. This information was a totally false accusation for which 19 News never fact check the
information before they broadcast Plaintiff name, face, and any or all pertinent private
information on their news reporting platforms; which is television, internet, and any other
outlets for which the Defendant(s) owns.

. The Defamation and Slander of Plaintiff character was harmed to the highest extent you
can reach; due to the thousands to millions of viewers that the Defendant(s) news
platforms can broadcast out to, without no fact checking to verify that the accusations
were true.

. Plaintiff life has been in danger due to such false carelessness national to international
news broadcast. Plaintiff family members from his, but not limited to his (i.e.) Mother;
Sisters; Daughters; Son; Grandchildren; Nieces; Nephews; even his extended family
members which are Cousins; Stepchildren, and beyond has suffer death threats harm and
acts of violent physical attacks from such media news broadcast negligence, off of an
invalid false accusation generated by the CPD to the news station.

. The CPD, new that the information against the Plaintiff was false when they further
investigated, which showed that the Plaintiff did not participate in no crime. Thereafter,
the CPD switched their false narrative to one of Plaintiff's alleged girlfriends just to keep
another false narrative going; just to wrongfully convict the Plaintiff, and one of his

alleged girlfriend as the offenders, well after they gave 19 News false information about
the Plaintiff(s).

. Plaintiff spent over 3 years in jail, for which came from 15 % months in the Cuyahoga
County Jail, and 20 % plus months in the Ohio Department of Corrections &
Rehabilitation. Plaintiff then girlfriend also spent nearly 3 years in jail under the same
false pretenses. Before such false case was vacated off both of them by the 8" District
Court of Appeals, due to Insufficient False Evidence, from a Reckless Investigation from
the CPD.

. The press is not free to publish with impunity everything and anything it desires to
publish. Although it may deter or regulate what is said or published, the press may not
circulate knowing or reckless falsehoods damaging to private reputation without

2
Case: 1:25-cv-00139-BMB Doc #:1 Filed: 01/28/25 3 of 4. PagelD #: 3

subjecting itself to liability for damages, including punitive damages, or even criminal
prosecution. A newspaper, news-station or a journalist may also be punished for
contempt of court, in appropriate circumstances,

8. Freedom of Speech, Free Press: The 1 Amendment does not guarantee the press a
constitutional right of special access to information not available to the public generally.
Newsmen nor News Stations have no Constitutional right of access to the scenes of crime
or disaster when the general public is excluded, and they may be prohibited from
attending or publishing information about trials if such restrictions are necessary to assure
a defendant a fair trial before an impartial tribunal, from libel and slander.

9. The publisher of a newspaper, or an owner of a news-station, has no special immunity
from the application of general laws. News outlets has no special privilege to invade the
rights and liberties of others. Branzburg v. Hayes, 408 U.S. 665

10. Plaintiff damages are irreversible from the false reporting of Defendant(s) broadcast
through their media news platforms.

11. Plaintiff, has endured pain and suffering; emotional & physical distress; mental anguish;
economical losses; loss of liberty and discrimination harm, from the flagrant violation
news media broadcast due to the Defendant’s news broadcasting staff at WOIO &
WUAB-TV, in Cleveland, Ohio, and any shared networks that affiliated with the
Defendant(s).

12. The only remedy of recourse the Plaintiff has is this civil complaint that will allow the
Plaintiff to stop the everyday threats and pain which he and his family endures
throughout the days, weeks, and years, Plaintiff has suffered.

13, Plaintiff, also ask this honorable court for an injunction to have Defendant’s news staff to
refrain from doing any further harm to Plaintiff(s), and publish a retraction-correction of
the false statement to the false news story ran on their media platforms.

14. Plaintiff also request Defendant to pay attorney fees and court cost.

15. Plaintiff, will entertain all mediation and settlement negotiations.

(WHEREFORE) Plaintiff(s) demands compensatory and punitive prayer damage against the
Defendant(s) in the amount for the sum of $415, 000,000.
Case: 1:25-cv-00139-BMB Doc #:1 Filed: 01/28/25 4 of 4. PagelD #: 4

CERTIFICATE OF SERVICE

The undersigned Plaintiff hereby submits that true and accurate copy of the foregoing
Civil Complaint was forward to the Office of the Clerk, United State District Court, 801
W. Superior Avenue, Cleveland, OH 44113-1830 to be served upon the Defendant(s)
Gray Local Media, Inc. 4370 Peachtree Road N.E. Ste. 400, Atlanta, GA 30319
and to be placed into the electronic filing system to be serve upon the Court, and all

parties involve.

o

Le LOI

Terry Foster, Plaintiffs)
